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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE

ESJ, ppa LUCKY GIRL (Lisa) BEH and ELLIOTT )
SACKOR, SR., and LUCKY GIRL (Lisa) BEH and )
ELLIOTT SACKOR, SR., Individually,         )
                                           )
       Plaintiffs,                         )
                                           )
       v.                                  ) No. 18-cv-956-SM
                                           )
UNITED STATES OF AMERICA,                  )
MARY CULLEN, D.O., and                     )
ELLIOT HOSPITAL,                           )
                                           )
       Defendants.                         )
__________________________________________)

    AMENDED 1 JOINT MOTION TO EXTEND REMAINING DEADLINES AND TRIAL

       Pursuant to Local Rule 7.2(a) of the Local Rules of this Court, the parties respectfully

request that the Court extend the remaining deadlines in this matter, as well as the trial date, for a

period of five months. In support of this Motion, the parties state as follows:

       1.      Plaintiffs have recently disclosed their expert witnesses, and the parties have

discussed the scheduling of the depositions of Plaintiffs’ expert witnesses, but the depositions

have not occurred. Once the depositions of the expert witnesses have taken place, the parties

will be in a better position of assessing the likelihood of settlement. Given the uncertainty of

when the expert witness depositions will occur, however, the parties propose that the current

deadlines be extended for five months.




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 The Parties filed an assented-to motion with the Court (McAuliffe, J.) to extend the remaining
deadlines and trial on August 6, 2021. See Document Number (“DN”) 34. After filing the
motion, the Parties received a notification from the Court that DN 34 filed to comply with Local
Rule (“LR”) 7.2, in that it failed to contain a certification that the parties’ clients had been
notified of the motion. Accordingly, this pleading, which contains the Parties’ LR 7.2
certification, is intended to replace DN 34.
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       2.      A Civil Form 3 is attached to this Motion which sets forth the proposed

extensions.

       3.      Pursuant to Local Rule 7.2(c), the parties certify that the party on behalf of whom

the motion was filed has been notified.

       4.      Due to the nature of this Motion, no supporting memorandum of law is required.

       Accordingly, the parties request that the Court grant this Motion and extend all deadlines

as proposed in the attached Civil Form 3.

                                                Respectfully submitted,

PLAINTIFFS ESJ, LUCKY GIRL BEH,                 JOHN J. FARLEY
and ELLIOT SACKOR, SR.                          Acting United States Attorney


By: /s/ David W. Suchecki, Esq.                 By: /s/ Terry L. Ollila
David W. Suchecki, NH Bar No. 14252             Terry L. Ollila
Crowe & Mulvey, LLP                             Assistant U.S. Attorney
77 Franklin Street, 3rd Floor                   MA Bar 560603
Boston, MA 02110                                53 Pleasant Street, 4th Floor
DSuchecki@croweandmulvey.com                    (603) 225-1552
                                                Terry.Ollila@usdoj.gov

Dated: August 10, 2021                          Dated: August 10, 2021




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